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                                UNITED STATES BANKRUPTCY COURT

                    NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                                     Case No. 17-66980-BEM

 KIM RAMPLEY ALDERMAN and                                   Chapter 13
 BARRY CLIFFORD ALDERMAN,

                  Debtors.


                                    REQUEST FOR SPECIAL NOTICE


TO:     UNITED STATES BANKRUPTCY JUDGE, THE DEBTORS, AND ALL INTERESTED PARTIES


        PLEASE TAKE NOTICE that ALDRIDGE PITE, LLP submits this Request for Special Notice and

Service of Copies, for Fay Servicing, LLC and hereby requests special notice of all events relevant to the

above-referenced bankruptcy and copies of all pleadings or documents filed in relation to the above-

referenced bankruptcy, including all pleadings or notices under Federal Rules of Bankruptcy Procedure, Rule

2002, the commencement of any adversary proceedings, the filing of any requests for hearing, objections,

and/or notices of motion, or any other auxiliary filings, as well as notice of all matters which must be noticed

to creditors, creditors committees and parties-in-interest and other notices as required by the United States

Bankruptcy Code and Rules and/or Local Rules of the above-referenced bankruptcy court.

        ALDRIDGE PITE, LLP submits this Request for Notice and Service of Copies as attorneys for Fay

Servicing, LLC.

        ALDRIDGE PITE, LLP, requests that for all notice purposes and for inclusion in the Master Mailing

List in this case, the following address be used:

                                                   Bryce Noel
                                            ALDRIDGE PITE, LLP
                                            Fifteen Piedmont Center
                                      3575 Piedmont Road, N.E., Suite 500
                                               Atlanta, GA 30305
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           Neither this Request for Special Notice nor any subsequent appearance, pleading, claim, proof of

claim, documents, suit, motion nor any other writing or conduct, shall constitute a waiver of the within

party's:

           a.     Right to have any and all final orders in any and all non-core matters entered only after de

novo review by a United States District Court Judge;

           b.     Right to receive service pursuant to Fed. R. Civ. P. 4 made applicable to the instant

proceeding by Fed. R. Bankr. P. 7004. This Request for Special Notice shall not operate as a confession

and/or concession of jurisdiction. Moreover, the within party does not authorize ALDRIDGE PITE, LLP,

either expressly or impliedly through ALDRIDGE PITE, LLP’s participation in the instant proceeding, to act

as its agent for purposes of service under Fed. R. Bankr. P. 7004;

           c.     Right to trial by jury in any proceeding as to any and all matters so triable herein, whether or

not the same be designated legal or private rights, or in any case, controversy or proceeding related hereto,

notwithstanding the designation or not of such matters as "core proceedings" pursuant to 28 U.S.C. §

157(b)(2)(H), and whether such jury trial right is pursuant to statute or the United States Constitution;

           d.     Right to have the reference of this matter withdrawn by the United States District Court in

any matter or proceeding subject to mandatory or discretionary withdrawal; and

           e.     Other rights, claims, actions, defenses, setoffs, recoupments or other matters to which this

party is entitled under any agreements at law or in equity or under the United States Constitution.

Dated: October 18, 2017                                    ALDRIDGE PITE, LLP


                                                           /s/Bryce Noel
                                                           Bryce Noel (SBN 620796)
                                                           BNoel@aldridgepite.com
                                                           Fifteen Piedmont Center
                                                           3575 Piedmont Road, N.E., Suite 500
                                                           Atlanta, GA 30305
                                                           Phone: (404) 994-7400
                                                           Fax: (888) 873-6147
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 BARRY CLIFFORD ALDERMAN,

                  Debtors.


                                       CERTIFICATE OF SERVICE

    I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter
mentioned, was more than 18 years of age, and that on October 18, 2017, I served a copy of Request for
Special Notice which was filed in this bankruptcy matter on October 18, 2017, in the manner indicated:
The following parties have been served via e-mail:
Howard P. Slomka                                          Department of Justice
se@myatllaw.com                                           ustpregion21.at.ecf@usdoj.gov

Mary Ida Townson
courtdailysummary@atlch13tt.com

The following parties have been served via U.S. First Class Mail:
Kim Rampley Alderman
Barry Clifford Alderman
903 Whistler Lane
Canton, GA 30114


I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.


Dated: October 18, 2017                            Signature: /s/ Michael L. Tidwell
                                                   Printed Name: MICHAEL L. TIDWELL
                                                   Address: Aldridge Pite, LLP
                                                                Fifteen Piedmont Center
                                                                3575 Piedmont Road, N.E., Suite 500
                                                                Atlanta, GA 30305
                                                   Phone:       (404) 994-7400
                                                   Fax:         (888) 873-6147
